     Case 2:13-cr-00130 Document 1214 Filed on 04/26/16 in TXSD Page 1 of 5
                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                     April 27, 2016
                     IN THE UNITED STATES DISTRICT COURT
                                                                                  David J. Bradley, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                    §
     Plaintiff/Respondent,                   §
                                             §
V.                                           §           CR. No. 2:13-CR-130-18
                                             §           (CA. No. 2:16-CV-103)
AARON TREVINO,                               §
    Defendant/Movant.                        §

     MEMORANDUM OPINION AND ORDER DISMISSING MOTION TO
     VACATE, SET ASIDE, OR CORRECT SENTENCE PURSUANT TO 28
     U.S.C. § 2255, AND DENYING A CERTIFICATE OF APPEALABILITY

       Aaron Trevino (Trevino) filed a motion to vacate, set aside or correct sentence

pursuant to 28 U.S.C. § 2255. D.E. 1203. Because it plainly appears from the Court’s review

of the motion, the memorandum and the record of prior proceedings that Trevino is not

entitled to relief because his motion is barred by limitations, the Court dismisses the motion

pursuant to Rule 4(b), Rules Governing Section 2255 Proceedings for the United States

District Courts (2015) (2255 Rules). The Court also denies him a Certificate of Appealability.

                                    I. JURISDICTION

       The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331.

                                   II. BACKGROUND

       Trevino was indicted in February 2013 in Count One of a 32 defendant 13 count

indictment. Count One charged him and others with racketeering in state prison to bring in

contraband consisting of drugs, cell phones and tobacco. D.E. 18. Trevino bribed corrections

officers and arranged to smuggle drugs into the McConnell Unit of a Texas prison. D.E. 351.

                                              1
     Case 2:13-cr-00130 Document 1214 Filed on 04/26/16 in TXSD Page 2 of 5



       Trevino pleaded guilty to Count One pursuant to a plea agreement and was

rearraigned on May 30, 2013. D.E. 565, 920. He was sentenced on October 30, 2013, to 198

months imprisonment to be followed by three years supervised release. D.E. 948. Judgment

was entered on the docket on November 5, 2013. Trevino did not appeal. He filed the present

motion on or about March 23 21, 2016.

                              III. MOVANT’S ALLEGATIONS

       Trevino challenges his conviction and sentence on multiple grounds including: 1) the

indictment was illegal and invalid; 2) his plea agreement was illegal and invalid; 3) defense

counsel provided ineffective assistance, 4) his incarceration is illegal, and 5) he is actually

innocent which excuses his late filing D.E. 1203.

                                          IV. ANALYSIS

A.     Statute of Limitations

       A motion made under § 2255 is subject to a one-year statute of limitations, which, in

most cases, begins to run when the judgment becomes final.1 28 U.S.C. § 2255(f). The Fifth


       1
           The statute provides that the limitations period shall run from the latest of:

                (1) the date on which the judgment of conviction becomes final;
                (2) the date on which the impediment to making a motion created by governmental
                action in violation of the Constitution or laws of the United States is removed, if the
                movant was prevented from filing by such governmental action;
                (3) the date on which the right asserted was initially recognized by the Supreme
                Court, if the right has been newly recognized by the Supreme Court and made
                retroactively applicable to cases on collateral review; or
                (4) the date on which the facts supporting the claim or claims presented could have
                been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f).

                                                   2
     Case 2:13-cr-00130 Document 1214 Filed on 04/26/16 in TXSD Page 3 of 5



Circuit and the Supreme Court have held that a judgment becomes final when the applicable

period for seeking review of a final conviction has expired. Clay v. United States, 537 U.S.

522, 525 (2003); United States v. Gamble, 208 F.3d 536, 536-37 (5th Cir. 2000) (per curiam).

       Trevino’s judgment became final on November 19, 2013, fourteen days after

judgment was entered on the docket. See Fed. R. App. P. 4(b)(1). He was required to file his

motion to vacate no later than one year from that date, or on or before November 19, 2014.

His motion was filed (at the earliest) on March 23, 2016, the day on which he placed it in the

prison mail. Fed. R. App. P. 4(c). The motion is over a year too late unless limitations is

equitably tolled or his late filing is excused.

B.     Actual Innocence

       Trevino claims he is actually innocent of the crime of conviction and as a result the

untimeliness of his motion is excused. Trevino argues that he is a citizen of Texas and only

the State had the power to prosecute him. Trevino’s claim of actual innocence is based solely

upon this argument; he has presented no evidence and alleged no facts that suggest he is

innocent of the racketeering crime to which he pleaded guilty.

       In McQuiggin v. Perkins, 133 S.Ct. 1924, 1931 (2013), the Court held that a

convincing plea of actual innocence can overcome the AEDPA statute of limitations, even

when equitable tolling is not available. “Actual innocence” in this context refers to factual

innocence and not mere legal sufficiency. Bousely v. United States, 523 U.S. 614, 623–624

(1998). “[A] petitioner ‘must show that it is more likely than not that no reasonable juror

would have convicted him in the light of the new evidence.’” McQuiggin, 133 S.Ct. at 1931.

                                                  3
    Case 2:13-cr-00130 Document 1214 Filed on 04/26/16 in TXSD Page 4 of 5



       Trevino’s claim of actual innocence does not encompass “factual innocence.” As a

result, he has not alleged facts that excuse the untimeliness of his motion. Because Trevino’s

motion is untimely, this Court may not address the merits of his claims.

                       V. CERTIFICATE OF APPEALABILITY

       An appeal may not be taken to the court of appeals from a final order in a habeas

corpus proceeding “unless a circuit justice or judge issues a certificate of appealability.” 28

U.S.C. § 2253(c)(1)(A). Although Trevino has not yet filed a notice of appeal, the § 2255

Rules instruct this Court to “issue or deny a certificate of appealability when it enters a final

order adverse to the applicant.” Rule 11, § 2255 Rules.

       A COA “may issue. . . only if the applicant has made a substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). “The COA determination under

§ 2253(c) requires an overview of the claims in the habeas petition and a general assessment

of their merits.” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003).

       To warrant a grant of the certificate as to claims denied on their merits, “[t]he

petitioner must demonstrate that reasonable jurists would find the district court’s assessment

of the constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484

(2000). This standard requires a § 2255 movant to demonstrate that reasonable jurists could

debate whether the motion should have been resolved differently, or that the issues presented

deserved encouragement to proceed further. United States v. Jones, 287 F.3d 325, 329 (5th

Cir. 2002) (relying upon Slack, 529 U.S. at 483-84).




                                               4
       Case 2:13-cr-00130 Document 1214 Filed on 04/26/16 in TXSD Page 5 of 5



         As to claims that the district court rejects solely on procedural grounds, the movant

must show both that “jurists of reasons would find it debatable whether the petition states a

valid claim of the denial of a constitutional right and that jurists of reason would find it

debatable whether the district court was correct in its procedural ruling.” Slack, 529 U.S. at

484 (emphasis added).

         Based on the above standards, the Court concludes that Trevino is not entitled to a

COA on any of his claims. That is, reasonable jurists could not debate the Court’s resolution

of his claims, nor do these issues deserve encouragement to proceed. See Jones, 287 F.3d at

329.

                                    VI. CONCLUSION

         Trevino’s motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

(D.E. 1203; D.E. 1, 2:16-CV-103) is DISMISSED pursuant to Rule 4(b) of the 2255 Rules

and he is DENIED a Certificate of Appealability.

         ORDERED this 26th day of April, 2016.




                                                     HAYDEN HEAD
                                                SENIOR U.S. DISTRICT JUDGE




                                               5
